Case 1:03-cv-01305-.]DT-STA Document 59 Filed 05/09/05 Page 1 of 3 PagelD 52

 

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soNNY JoHNsoN and
LlNoA JoHNsoN,
P|aintiffs,
vs. NO. 1-03-1305-T-An

OTHA R. WHITAKER and
LANDSTAR RANGER, INC.,

Defendants.

 

ORDER OF DlSMlSSAL WlTH PREJUD|CE

 

This date came the parties in the above-captioned cause and stated unto the
Court that all issues had been resolved by Way of compromise and theyjointly request that
the Court enter a judgment of dismissal with prejudice

lT |S, THEREFORE, ORDERED, ADJUDGED AND DECREED that the within

action brought by Sonny Johnson and Linda Johnson be and the same is hereby dismissed

 

With prejudice
J‘:
This the day or M 2005.
ENTER:
JUWE
APPROVED FOR ENTRY:

f

 

T||\/lOTHY BOXX, #018552 '
Attorneys for P|aintiffs

 

R. LE S, #013439
Attorney for Defendants

Thls document entered on the docket sheet tn com liance
with nme 53 and/or 79 (a) FFicP on _/;l$_l[t_jl_

Case 1:03-cv-01305-.]DT-STA Document 59 Filed 05/09/05 Page 2 of 3 PagelD 53

CERT|F|CATE OF SERV|CE

The undersigned certifies that a true copy of this pleading or document was served
upon Mr. Timothy Boxx, The Agee Law Firm, P.A., P. O. Box 280, Dyersburg, Tennessee
38025 and Mr. Danny E|lis, Mue||er & E||is, 1289 N. Highland Ave., P.O. Box 3146,

Jackson, TN 38303- 146 by mailing postage prepaid.
This the day of May1 2005. @a@

 

 

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Esra

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 1:03-CV-01305 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

ESSEE

 

Danny R. Ellis

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Honcrable J ames Tcdd
US DISTRICT COURT

